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PHILLIP A. TALBERT | no Fe Y
Acting United States Attorney =.=.
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Attomeys for Plaintiff
United States of America

 

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NO. 1:99-MG-2124 LJO
Plaintiff, GOVERNMENT MOTION TO DISMISS AND
PROPOSED ORDER
¥.
JOSE JESUS PADILLA,
Defendant.

 

 

 

 

The United States of America, by and through its undersigned counsel, hereby moves for
dismissal of the above-captioned matter for the following reason.

‘On this date, the Federal Bureau of Investigation confirmed that the above-named
fugitive/defendant was killed in Mexico.

Dated: September 19, 2016 PHILLIP A. TALBERT
Acting United States Attorney

By: _/s/ Karen A, Escobar

 

KAREN A. ESCOBAR
Assistant United States Attorney

ORDER

IT IS SO ORDERED this /j By of | ook. , 2016.

EREGAPP-GROSIGAN— Lawrence One |
U.S. MAGISFRATEJUDGE ‘
bse

 

MOTION TO DISMISS AND PROPOSED ORDER

 
